











Opinion Issued January 8, 2008
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;









In The
Court of Appeals
For The
First District of Texas




NO. 01-07-01089-CV




IN RE BELTWAY GREEN PARTNERSHIP, LTD., Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM  OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;By petition for writ of mandamus, relator, Beltway Green Partnership, Ltd.,
seeks to compel the trial court to rule on an order to release funds from the court
registry.


    
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We deny the petition for writ of mandamus.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;PER CURIAM

Panel consists of Chief Justice Radack and Justices Jennings and Bland.


